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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10      UNITED STATES OF AMERICA,                         NO. CR20-018-RJB
11                             Plaintiff,
                                                          PROTECTIVE ORDER
12                        v.                              RESTRAINING CERTAIN
                                                          FORFEITABLE PROPERTY
13
        MICHAEL JOHN SCOTT,
14
                               Defendant.
15
16
17          THIS MATTER comes before the Court on the United States’ Motion for Entry of
18 a Protective Order Restraining Certain Forfeitable Property (“Motion”) concerning the
19 following property (“Subject Vehicle”):
20          a.      A Dodge Ram 2500, VIN No. 3D7UT2CLXBG564155, Washington State
21                  License No. C40349F, seized on or about January 30, 2020 from the
22                  Defendant’s residence located in Snohomish, Washington.
23          The Court, having reviewed the papers and pleadings filed in this matter, including
24 the United States’ Motion and the supporting Declaration of Drug Enforcement
25 Administration (“DEA”) Special Agent (“SA”) Ryan C. Smith, hereby FINDS entry of a
26 protective order restraining the Subject Vehicle is appropriate because:
27 //
28

     Protective Order Restraining Certain Property - 1                  UNITED STATES ATTORNEY
                                                                       700 STEWART STREET. SUITE 5220
     United States v. Michael John Scott, CR-20-018-RJB                  SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
                 Case 2:20-cr-00018-RJB Document 42 Filed 10/19/21 Page 2 of 2




 1          •       The United States gave notice of its intent to pursue forfeiture of the
 2                  Subject Vehicle in the Forfeiture Bill of Particulars, Dkt. No. 40;
 3          •       Based on the facts set forth in the Complaint and SA Smith’s Declaration,
 4                  there is probable cause to believe the Subject Vehicle is subject to forfeiture
 5                  in this case; and
 6          •       To ensure the Subject Vehicle remains available for forfeiture, its continued
 7                  restraint, pursuant to 21 U.S.C. § 853(e)(1), is appropriate.
 8
 9          NOW, THEREFORE, THE COURT ORDERS:
10          1.      The United States’ request for a protective order restraining the Subject
11 Vehicle pending the conclusion of this case is GRANTED; and
12          2.      The Subject Vehicle shall remain in the custody of the United States, and/or
13 its authorized agents or representatives, pending the conclusion of criminal forfeiture
14 proceedings and/or further order of this Court.
15
16          IT IS SO ORDERED
17
18          DATED this 18th day of October, 2021.
19
20
21
                                             A
                                             ROBERT J. BRYAN
22                                           United States District Judge

23 Presented by:
24   s/ Jehiel I. Baer
   JEHIEL I. BAER
25 Assistant United States Attorney
26 700 Stewart Street, Suite 5220
   Seattle, WA 98101-1271
27 (206) 553-2242
28 Jehiel.Baer@usdoj.gov

     Protective Order Restraining Certain Property - 2                       UNITED STATES ATTORNEY
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